                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION


                                                )
 JOHN DOE,                                      )
 Plaintiff,                                     )
                                                )
                                                         No. 1:18-cv-00084
         v.                                     )
                                                )
                                                         Judge Eli Richardson
 DAVID BYRD, et al.,                            )
                                                         Magistrate Judge Jeffery Frensley
 Defendants.                                    )
                                                )
                                                )
                                                )


 DEFENDANT DAVID BYRD’S MEMORANDUM IN SUPPORT OF MOTION TO
RESCIND PRIOR ORDER GRANTING PLAINTIFF’S MOTION FOR PROTECTIVE
ORDER (D.E. 32) AND TO COMPEL PLAINTIFF TO SUBSTITUTE NAME OF REAL
                PARTY IN INTEREST UNDER FED. R. CIV. P. 17

        Defendant, David Byrd, requests that the Court rescind its prior Order granting Plaintiff

John Doe’s request to proceed anonymously based upon newly discovered evidence, the

presumption in favor of open legal proceedings and the need for public vetting given novel legal

theories recently presented by Doe within his amended complaint. Defendant Byrd requests the

Court Order Doe to substitute his actual name as the real party in interest to these proceedings in

all filings henceforth.



        DATED this 14th day of March, 2019.
                                                      Respectfully submitted,

                                                     /s/Clay Lee
                                                      Clay Lee (BPR # 029271)
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                                       Attorney for David Byrd




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                              CERTIFICATION OF COUNSEL

       I hereby certify that the moving party attempted to confer in good faith with opposing

counsel to resolve by agreement the motion to name the real party in interest to this proceeding.

                                                                    /s/Clay Lee
                                                                    Clay Lee




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing was electronically filed on the

14th day of March, 2019. Notice of this filing will be sent by operation of electronic mail to the

following:


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                                                    /s/Clay Lee
                                                    Clay Lee




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